              Case 25-70001-JAD                   Doc 1     Filed 01/06/25 Entered 01/06/25 00:08:54                               Desc Main
                                                            Document     Page 1 of 15

Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF PENNSYLVANIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Wilson Creek Energy, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  1576 Stoystown Road
                                  Friedens, PA 15541
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Somerset                                                       Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Wilson Creek Energy, LLC                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               2121

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                  proceed under Subchapter V of Chapter 11.
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                      Relationship
                                                 District                                  When                              Case number, if known
Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
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                                                             Document     Page 3 of 15
Debtor   Wilson Creek Energy, LLC                                                                  Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                            Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                                No
                                                Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                              1,000-5,000                                25,001-50,000
    creditors                       50-99                                             5001-10,000                                50,001-100,000
                                    100-199                                           10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Wilson Creek Energy, LLC                                                                 Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 6, 2025
                                                  MM / DD / YYYY


                             X /s/ Kevin M. Harrigan                                                      Kevin M. Harrigan
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President and Chief Executive Officer




18. Signature of attorney    X /s/ Michael J. Roeschenthaler                                               Date January 6, 2025
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Michael J. Roeschenthaler
                                 Printed name

                                 Raines Feldman Littrell LLP
                                 Firm name

                                 11 Stanwix Street
                                 Suite 1100
                                 Pittsburgh, PA 15222
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     412-899-6472                  Email address      mroeschenthaler@raineslaw.com

                                 87642 PA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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Fill in this information to identify the case:
Debtor name         WILSON CREEK ENERGY, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF PENNSYLVANIA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       January 6, 2025                 X /s/ Kevin M. Harrigan
                                                           Signature of individual signing on behalf of debtor

                                                            Kevin M. Harrigan
                                                            Printed name

                                                            President and Chief Executive Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

In re:                                               )
                                                     )
WILSON CREEK ENERGY, LLC, et al.1                    )
                                                     )
                 Debtors.                            )
                                                     )


         LIST OF AFFILIATED DEBTORS COMMENCING CHAPTER 11 CASES

                           DEBTOR                             LAST FOR DIGITS OF EIN

           Corsa Coal Corp.                                                  0027
           Wilson Creek Holdings, Inc.                                       7733
           Wilson Creek Energy, LLC                                          6202
           Maryland Energy Resources, LLC                                    5299
           Mincorp Acquisition Corp.                                         4858
           Mincorp Inc.                                                      5688
           PBS Coals, Inc.                                                   2413
           RoxCoal, Inc.                                                     3768
           Quecreek Mining, Inc.                                             1745
           Croner, Inc.                                                      0529
           Elk Lick Energy, Inc.                                             8551




1
  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
number are: Wilson Creek Energy, LLC (6202); Wilson Creek Holding, Inc. (7733); Maryland Energy Resource, LLC
(5299); Mincorp Acquisition Corp. (4858); Mincorp Inc. (5688); PBS Coals, Inc. (2413); Roxcoal, Inc. (3768);
Quecreek Mining, Inc. (1745), Croner, Inc. (0529); Elk Lick Energy, Inc. (8551); and Corsa Coal Corp. (0027). The
Debtors’ address is 1576 Stoystown Road, Friedens, Pennsylvania 15541.



10444683.1
                Case 25-70001-JAD                  Doc 1     Filed 01/06/25 Entered 01/06/25 00:08:54                                          Desc Main
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 Fill in this information to identify the case:
 Debtor name WILSON CREEK ENERGY, LLC, et al.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                 Check if this is an
                                                PENNSYLVANIA
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 30 largest unsecured claims.

 Name of creditor and        Name, telephone         Nature of claim            Indicate if claim   Amount of claim
 complete mailing address,   number and email        (for example, trade         is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code          address of creditor     debts, bank loans,         unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                             contact                 professional services,         disputed        value of collateral or setoff to calculate unsecured claim.
                                                     and government                                 Total claim, if            Deduction for value        Unsecured claim
                                                     contracts)                                     partially secured          of collateral or setoff
 Norfolk Southern                                                                                                                                            $2,783,670.72
 Railway Company
 PO Box 532797
 Atlanta, GA 303532797
 Jennmar               James Pfeifer,                Trade Debt                                                                                              $1,754,630.00
 PO Box 948800         General Counsel
 Atlanta, GA 303948800 Phone (724)
                       514-7656
                       jpfeifer@jennmar.
                       com

 Tijon Company Inc     Phone: (724)        Trade Debt                                                                                                          $878,992.72
 110 Entry Road        479-3381
 Aultman, PA 15713     tspiller@tijonusa.c
                       om
 White Armature Works                      Trade Debt                                                                                                          $608,620.83
 Inc                   Phone: (304)
 PO Box 330            583-9681
 1150 Huff Creek Hwy   ramburgey@white
 Mallory, WV 25634     arm.com
 JJ Powell Inc         Jeffrey Powell      Trade Debt                                                                                                          $592,975.08
 109 W Presqueisle St jpowell@jjpowell.c
 PO Box 30             om
 Philipsburg, PA 16866 Phone:
                       1-800-432-0866

 GMS Mine Repair &           Ron Petrella     Trade Debt                                                                                                       $548,725.30
 Maintenance, Inc            rpetrella@gmsmin
 PO Box 2446                 erepair.COM
 Mt. Lake Park, MD           Phone -
 21550                       301-334-8186




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




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 Debtor    WILSON CREEK ENERGY, LLC, et al.                                                          Case number (if known)
           Name

 Name of creditor and        Name, telephone         Nature of claim            Indicate if claim   Amount of claim
 complete mailing address,   number and email        (for example, trade         is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code          address of creditor     debts, bank loans,         unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                             contact                 professional services,         disputed        value of collateral or setoff to calculate unsecured claim.
                                                     and government                                 Total claim, if            Deduction for value        Unsecured claim
                                                     contracts)                                     partially secured          of collateral or setoff
 Wampum Hardware             Gerald Davis,           Trade Debt                                                                                                $466,641.04
 Co                          President
 636 Paden Road              Phone: (724)
 New Galilee, PA 16141       336-4501
                             gdavis@wampum
                             hardware.com
 Highmark Blue Shield                                Insurance                                                                                                 $432,711.15
 PO Box 382022
 Pittsburgh, PA 15251
 Weimer Rebuilding,                                                                                                                                            $422,063.76
 Inc.
 149 Hillside Road
 Derry, PA 15627
 Braddock                                            Trade Debt                                                                                                $421,837.38
 Construction LLC
 61 National Highway
 Cumberland, MD
 21502
 Joy Global                  Matt Kulasa             Trade Debt                                                                                                $419,628.71
 Underground Mining,         mkulasa@joyglob
 LLC                         al.com
 PO Box 504794               Phone -
 St.Louis, MO                724-873-4337
 631504794
 Cleveland Brothers          Jay Cleveland     Trade Debt                                                                                                      $409,140.46
 Equipment Co. Inc.          Email -
 4565 William Penn           jcleveland@clevel
 Highway                     andbrothers.com
 Murraysville, PA            phone -
 15668                       724-327-1300
 Irwin Mine and                                Trade Debt                                                                                                      $368,425.33
 Tunneling Supply
 PO Box 409
 Irwin, PA 15642
 Taylor Hydraulics, Inc      David Bandy             Trade Debt                                                                                                $352,239.00
 DBA THI                     Phone: (276)
 PO Box 750                  964-6745
 Cedar Bluff, VA 24609
 Glassmere Fuel              Phone:                  Trade Debt                                                                                                $351,425.17
 Service                     800-235-9054
 PO Box 187
 Curtisville, PA 15032
 Rockwood Casualty                                   Insurance                                                                                                 $346,582.00
 Insurance Company
 Attn: Accounts
 Payable Dept
 654 Main Street
 Rockwood, PA 15557




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




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 Debtor    WILSON CREEK ENERGY, LLC, et al.                                                          Case number (if known)
           Name

 Name of creditor and        Name, telephone         Nature of claim            Indicate if claim   Amount of claim
 complete mailing address,   number and email        (for example, trade         is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code          address of creditor     debts, bank loans,         unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                             contact                 professional services,         disputed        value of collateral or setoff to calculate unsecured claim.
                                                     and government                                 Total claim, if            Deduction for value        Unsecured claim
                                                     contracts)                                     partially secured          of collateral or setoff
 Valley Mine Service,        Danny Gibson            Trade Debt                                                                                                $304,411.51
 Inc                         Phone: (423)
 P O Box 57                  869-3155
 Speedwell, TN               danny@valleymin
 378700057                   eservice.com

 Chemstream Inc              Phone:                  Trade Debt                                                                                                $291,512.88
 511 Railroad Avenue         724-915-8388
 Homer City, PA 15748

 Highland Industries                                 Trade Debt                                                                                                $288,649.19
 PO Box 1190
 Oak Hill, WV 25901
 Hallaton                    Todd Harman      Trade Debt                                                                                                       $283,885.70
 Environmental Linings       Phone:
 1206 Sparks Road            410-583-7700
 Sparks Glencoe, MD          tharman@hallaton
 21152                       .com

 Bill Miller Equipment       Marie Miller     Trade Debt                                                                                                       $259,000.00
 Sales, Inc.                 Phone: (301)
 PO Box 112                  689-1013
 Eckhart Mines, MD           marie@bmillerequ
 21528                       ipmentsales.com

 Griffith Excavation Inc                             Trade Debt                                                                                                $244,191.81
 52 Blough Road
 Boswell, PA 15531
 Rose Services LLC                                                                                                                                             $235,675.60
 and Somerset Trust
 Co
 Attn: Joseph
 Crowley
 PO Box 777
 Somerset, PA 15501
 Good Tire Services,                                 Trade Debt                                                                                                $233,936.97
 Inc.
 13616 State Route 422
 Kittanning, PA 16201
 WC Hydraulics, LLC                                  Trade Debt                                                                                                $232,779.97
 172 Philpot Lane
 Beaver, WV 25813
 JM Conveyors LLC                                    Trade Debt                                                                                                $203,086.00
 PO Box 948800
 Atlanta, GA 30394
 Lee Supply Co Inc       Phone: (724)                                                                                                                          $201,481.96
 Box 35                  483-3543
 Charleroi, PA 15022




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3




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 Debtor    WILSON CREEK ENERGY, LLC, et al.                                                          Case number (if known)
           Name

 Name of creditor and        Name, telephone         Nature of claim            Indicate if claim   Amount of claim
 complete mailing address,   number and email        (for example, trade         is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code          address of creditor     debts, bank loans,         unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                             contact                 professional services,         disputed        value of collateral or setoff to calculate unsecured claim.
                                                     and government                                 Total claim, if            Deduction for value        Unsecured claim
                                                     contracts)                                     partially secured          of collateral or setoff
 Appalachian Tire                                    Trade Debt                                                                                                $189,714.98
 Products
 248 Seanor Road
 Windber, PA 15963
 Mike Weimer                 Phone: (724)            Trade Debt                                                                                                $185,625.00
 Construction LLC            388-3557
 2079 Weimer Lane
 Blairsville, PA 15717
 Johnson Industries          Phone: (606)            Trade Debt                                                                                                $184,784.68
 Inc                         639-2029
 101 Pine Fork
 Pikeville, KY 41501
JM




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 4




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                           ACTION BY WRITTEN RESOLUTION
                            OF THE MANAGING MEMBER OF
                             WILSON CREEK ENERGY, LLC

                                         January 5__, 2025

       The undersigned, constituting all of the members of the Board of Directors (the “Board”)
of Wilson Creek Holdings, Inc., the managing member (the “Managing Member”) of WILSON
CREEK ENERGY, LLC (the “Company”), a Delaware limited liability company, hereby approves
and adopts, in accordance with the laws of the State of Delaware and the governing agreements of
the Company, the following resolutions:

        WHEREAS, the Managing Member has reviewed and considered historical performance
and results of the Company, its current and future liquidity needs, its business prospects, and its
current and long-term liabilities;

       WHEREAS, the Company is a subsidiary of and majority-owned by Managing Member,
Wilson Creek Holdings, Inc., a Delaware Corporation, which has determined to pursue relief under
the provisions of chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the
“Bankruptcy Code”); and

        WHEREAS, the Managing Member has determined that it is advisable and in the best
interests of the Company to pursue relief under the Bankruptcy Code.

       NOW, THEREFORE, BE IT:

       1.      Commencement of Chapter 11 Case

         RESOLVED, that the Company file, or cause to be filed, a voluntary petition for relief
under chapter 11 of the Bankruptcy Code (the “Chapter 11 Case”) in the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”) and perform any and all such acts
as are reasonable, advisable, expedient, convenient, proper or necessary to effect the foregoing;
and it is further

        RESOLVED, that Kevin Harrigan, Chief Executive Officer of the Company (the “CEO”
or the “Authorized Person”) be, and hereby is, authorized, empowered, and directed, with full
power of delegation, to negotiate, execute, deliver, and file with the Bankruptcy Court, in the name
and on behalf of the Company, and under its corporate seal or otherwise, all plans, petitions,
schedules, statements, motions, lists, applications, pleadings, papers, affidavits, declarations,
orders and other documents; and it is further

        RESOLVED, that the Authorized Person be, and hereby is, authorized, empowered, and
directed, with full power of delegation, in the name and on behalf of the Company, to take and
perform any and all further acts and deeds that the Authorized Person deems necessary,
appropriate, or desirable in connection with the Company’s bankruptcy case and in furtherance of
the restructuring of the Company’s debts and obligations, all as consistent with these resolutions
and to carry out and put into effect the purposes of these resolutions, and the transactions

                                                 1

10443340.2
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contemplated by these resolutions, their authority thereunto to be evidenced by the taking of such
actions; and it is further

       2.      Commencement of CCAA Proceeding

       RESOLVED, that the Company file, or cause to be filed, a recognition of the Chapter 11
Case (or similar proceeding) under the CCAA (the “CCAA Proceeding”) and perform any and all
such acts as are reasonable, advisable, expedient, convenient, proper or necessary to effect the
foregoing; and it is further

        RESOLVED, that the Authorized Person be, and hereby is, authorized, empowered, and
directed, with full power of delegation, to negotiate, execute, deliver, and file with the Ontario
Superior Court (Commercial List) (the “CCAA Court”) in connection with the CCAA Proceeding,
in the name and on behalf of the Company, and under its corporate seal or otherwise, all plans,
petitions, schedules, statements, motions, lists, applications, pleadings, papers, affidavits,
declarations, orders and other documents; and it is further

        RESOLVED, that the Authorized Person be, and hereby is, authorized, empowered, and
directed, with full power of delegation, in the name and on behalf of the Company, to take and
perform any and all further acts and deeds that the Authorized Person deems necessary,
appropriate, or desirable in connection with the CCAA Proceedings and in furtherance of the
restructuring of the Company’s debts and obligations, all as consistent with these resolutions and
to carry out and put into effect the purposes of these resolutions, and the transactions contemplated
by these resolutions, their authority thereunto to be evidenced by the taking of such actions; and it
is further.

       3.      Retention of Advisors

        RESOLVED, that the following professionals be engaged and retained on behalf of the
Company: (i) Raines Feldman Littrell LLP as general bankruptcy counsel; (ii) Stikeman Elliott
LLP as Canadian insolvelcy counsel (iii) BDO USA as financial advisors and consultants; (iv) an
investment banker, if deemed necessary or appropriate by the Authorized Person; and (v) Omni
Agent Solutions, Inc. as claims and noticing agent; (vi) PricewaterhouseCoopers LLP as Canadian
information officer; and (vii) any other professionals deemed necessary and in the best interests of
the Company; each to represent and assist the Company in carrying out its duties and
responsibilities under the Bankruptcy Code and applicable law, and to take any and all actions to
advance the Company’s rights and interests (including, without limitation, the law firms filing any
pleadings and responses, and making any filings with regulatory agencies or other governmental
authorities); and it is further

       RESOLVED, that the Authorized Person be, and hereby is, authorized, directed and
empowered, on behalf of and in the name of the Company, to execute appropriate retention
agreements with and pay appropriate retainers to the foregoing professionals and such other
professionals as they deem necessary, appropriate or desirable, upon such terms and conditions as
they shall approve, to render services to the Company, and to cause to be filed appropriate
applications for authority to retain the services of such professionals; and it is further


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       4.      Financing

         RESOLVED that the Authorized Person be, and hereby is, authorized, directed and
empowered, on behalf of and in the name of the Company, to negotiate and obtain postpetition
financing and/or use of cash collateral, including under one or more debtor-in-possession credit
facilities, as the Authorized Person deems necessary, appropriate, or desirable in connection with
the Company’s bankruptcy case and to carry out and put into effect the purposes of these
resolutions; and to enter into any guarantees and to pledge and grant liens on the Company’s assets
in support of such financing, and in connection therewith to execute appropriate loan agreements
and related ancillary documents; with the actions of the Authorized Person taken pursuant to this
resolution, including the execution, acknowledgement, delivery and verification of all such
financing related documents, being deemed conclusive evidence of the approval and the necessity,
desirability or appropriateness thereof; and it is further

       RESOLVED that the Authorized Person be, and hereby is, authorized, directed and
empowered, on behalf of and in the name of the Company, to take all such further actions,
including, without limitation, to pay or approve the payment of all fees and expenses payable in
connection with any such financing transaction(s) and all fees and expenses incurred by or on
behalf of the Company in connection with these resolutions, in accordance with the terms of any
financing related documents, which shall in his sole discretion be necessary, appropriate, or
desirable to perform any of the Company’s obligations under or in connection with such financing
arrangements and to carry out fully the intent of these resolutions; and it is further

       5.      General

        RESOLVED, that the Authorized Person be, and hereby is, authorized, directed and
empowered, on behalf of and in the name of the Company, authorized, empowered, and directed,
with full power of delegation, in the name and on behalf of the Company, to take and perform any
and all further acts or deeds, including (a) the negotiation of such additional agreements,
amendments, modifications, supplements, consents, waivers, reports, documents, instruments,
applications, notes or certificates not now known but which may be required, (b) the execution,
delivery, performance and filing (if applicable) of any of the foregoing, and (c) the payment of all
fees, consent payments, taxes, indemnities and other expenses, as the Authorized Person, in his
sole discretion, may approve or deem necessary, appropriate, or desirable to carry out the intent
and accomplish the purposes of the foregoing resolutions and the transactions contemplated
thereby, all of such actions, executions, deliveries, filings, and payments to be conclusive evidence
of such approval or that the Authorized Person deemed the same to meet such standard; and it is
further

        RESOLVED, that any person dealing with the Authorized Person in connection with any
of the foregoing matters shall be conclusively entitled to rely upon the authority of the Authorized
Person and by his execution of any document, agreement or instrument, the same to be a valid and
binding obligation of such Company enforceable in accordance with its terms; and it is further

       RESOLVED, that the Authorized Person is hereby authorized to certify and deliver to any
person to whom such certification and delivery may be deemed necessary or desirable in the
opinion of the Authorized Person, a true copy of the foregoing resolutions; and it is further
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         RESOLVED, that all actions heretofore taken, and all agreements, instruments, reports
and documents executed, delivered or filed through the date hereof, by the Authorized Person of
the Company in, for and on behalf of the Company, in connection with the matters described in or
contemplated by the foregoing resolutions, are hereby approved, adopted, ratified and confirmed
in all respects as the acts and deeds of the Company as of the date such action or actions were
taken.

        IN WITNESS WHEREOF, the undersigned, being all of the members of the Board of
Wilson Creek Holdings, Inc., adopt and authorize the foregoing resolutions as of the date first
written above.



 Ronald G. Stovash                                 John H. Craig


 Alan M. De’Ath                                    Kevin Harrigan


 Robert Scott




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                                          United States Bankruptcy Court
                                             Western District of Pennsylvania
 In re   Wilson Creek Energy, LLC                                                      Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Wilson Creek Energy, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




January 6, 2025                                  /s/ Michael J. Roeschenthaler
Date                                             Michael J. Roeschenthaler
                                                 Signature of Attorney or Litigant
                                                 Counsel for Wilson Creek Energy, LLC
                                                 Raines Feldman Littrell LLP
                                                 11 Stanwix Street
                                                 Suite 1100
                                                 Pittsburgh, PA 15222
                                                 412-899-6472
                                                 mroeschenthaler@raineslaw.com
